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                  IN THE UNITED STATES DISTRICT COURT                         FILED
                                                                              AUG 13 21114
                       FOR THE DISTRICT OF MONTANA
                                                                          Cieri<, u.s. District Court 

                                                                             District Of Montana 

                                BILLINGS DIVISION                                   Helena





 Kimberly Listek, personal
 representative of the Estate of Michael
 Listek, deceased,
                                                    No, CV 12-53-BLG-SEH 

                             Plaintiff,
                                                            ORDER 

       vs.

 O. Pete Council, MD,

                             Defendant.

      The Court has been informed that this case has been settled. 


      ORDERED: 


      l.       The trial set for October 20, 2014, and all deadlines, are VACATED.

      2.       The parties shall file a stipulation for dismissal and proposed order of

dismissal within 30 days ofthe date of this Order.

      DATED this 13th day of August, 2014.


                                              ~     f#r;dJ~~)
                                             ~E.HADDON
                                               United States District Judge
